
Upon consideration of the Joint Petition for Indefinite Suspension by Consent filed herein pursuant to Maryland Rule 19-736 and Respondent's acknowledgement therein that sufficient evidence exists to sustain allegations that he committed professional misconduct in violation of Rules 1.1, 1.3, 1.4, 1.15(a) &amp; (d), 1.16(d), 8.1(b) and 8.4(d) of the Maryland Lawyers' Rules of Professional Conduct in effect prior to July 1, 2016, and current Maryland Rule 19-308.1(b), it is this 16th day of February, 2017,
ORDERED, by the Court of Appeals of Maryland, that Gary Michael Anderson, Respondent, is hereby indefinitely suspended by consent from the practice of law in this State, effective thirty (30) days from the date of this Order; and it is further
ORDERED, that, thirty (30) days from the date of this Order the Clerk of this Court shall strike the name of Gary Michael Anderson from the register of attorneys in this Court, notify Respondent of such action, and comply with the notice provisions set forth in Maryland Rule 19-761(b).
